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                                                        January 12, 2021

BY ECF
Honorable Loretta A. Preska                      Defendant's request for an extension
United States District Judge                     to January 15, 2021 is granted. SO
Southern District of New York                    ORDERED.
500 Pearl Street                                                                    1/13/2021
New York, New York 10007

        Re:     United States v. Brandon Becker, 19 Cr, 704 (LAP)

Dear Judge Preska:

         This Court previously directed Brandon Becker to file an amended Criminal Justice
Act financial affidavit and granted the defense request to extend the time by which to do so
until January 13, 2021. Mr. Becker has been working assiduously on obtaining all responsive
financial information from the necessary parties, including financial institutions and
accounting professionals, in order to address the Court’s order that he disclose: “(1) all of the
assets held or controlled by him directly or beneficially, in whatever name they are held; (2)
all of his spouse’s assets in which he has a marital interest, including any assets that Becker
holds or controls in his wife’s name; and (3) the assets in the name or controlled by his
mother, including those in the name of CGI or other companies.” ECF No. 50 at 2 – 3.

        While he has most of the necessary information, there remain certain outstanding
matters that he hopes to be able to have the materials to address shortly. To provide him the
time to do so, we respectfully request that this Court extend the time by which an amended
CJA financial affidavit must be filed from January 13, 2021 to January 15, 2021. This is the
second such request and the government does not object to it.

                                                        Respectfully,

                                                        /s/ Megan W. Benett
                                                        Megan W. Benett

cc: All Counsel of Record by ECF
